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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 LAKAIYA HARRIS,

         Plaintiff,                                        Case No. 18-cv-12751
                                                           Hon. Matthew F. Leitman
 v.

 PERFECTING CHURCH, et al.,

      Defendants.
 __________________________________________________________________/

              AMENDED CASE MANAGEMENT REQUIREMENTS
                      AND SCHEDULING ORDER

         The Court enters the following schedule to manage the progress of the case:

                      EVENT                                      DEADLINE
Discovery Cutoff                                                April 10, 2020
Dispositive Motions and Challenges to Experts                    May 8, 2020
Rule 26(a)(3) Pretrial Disclosures                             August 14, 2020
Motions in Limine                                             September 1, 2020
                                                Response briefs due 10 days after filing, but
                                                 not later than September 11, 2020. Reply
                                               briefs due 5 days after responses are filed, but
                                                     not later than September 18, 2020.
Final Pretrial Order                                         September 28, 2020
Final Pretrial Conference                       Wednesday, October 14, 2020 at 1:30 p.m.
Trial Date                                        Tuesday, October 27, 2020 at 9:00 a.m.
                                        JURY TRIAL




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                    CASE MANAGEMENT REQUIREMENTS

       1.     LOCAL COUNSEL: An attorney admitted to practice in the Eastern

District of Michigan who appears as attorney of record and is not an active member of

the State Bar of Michigan must specify local counsel with an office in this district.

Local counsel must enter an appearance and otherwise comply with Local Rule

83.20(f). All inquiries regarding admission to this district should be directed to the

Clerk’s office at (313) 234- 5005.

       2.     DISCOVERY CUTOFF: Discovery must be served sufficiently in

advance of the discovery cutoff so as to allow the opposing party sufficient time to

respond under the Federal Rules of Civil Procedure prior to the close of discovery. The

Court will not order discovery to take place after the cutoff date.

       3.     EXTENSIONS OF TIME: Parties may agree to extend the discovery

cutoff deadline by filing a stipulation and order with the Court provided the extension

of time does not affect the motion cutoffs, final pretrial conference, or trial dates.

Extensions or adjournments of dates other than the discovery cutoff will be considered

upon the filing of a motion or stipulation setting forth in detail the factual basis for the

request.

       4.     BRIEFING GUIDELINES AND REQUIREMENTS: The Court does

not ordinarily set a briefing schedule for motions except for motions in limine as

described in this Scheduling Order. Unless specifically addressed in the Court’s Notice

of Hearing, the time limits prescribed in Local Rule 7.1(e) apply for filing responses


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and replies to motions. Sur-replies are generally not permitted. Requests for extensions

of time may be made by filing a concise stipulation and order explaining the specific

reasons why such an extension is necessary. Such a stipulation and order must be filed

at least one week before a brief is due.

      All briefs shall strictly comply with Local Rules 5.1 and 7.1. The Court does not

routinely grant requests to file longer briefs. Requests to file an oversized brief may be

made by filing a concise stipulation and order or ex parte motion explaining the specific

reasons why such an extension is necessary. Such a stipulation and order or ex parte

motion must be filed at least one week before a brief is due.

      All briefs must contain a table of contents, a table of authorities, and an index.

Counsel are discouraged from employing elaborate boilerplate recitations of the

summary judgment standard or lengthy string citations in support of well-established

legal principles. Instead, counsel should focus their analysis on a few well-chosen cases,

preferably recent and from controlling courts. References in briefs to an argument or

statement made by an opposing party must include a specific citation to the docket and

page numbers of the matter referenced.

      5.     COURTESY COPIES: A courtesy copy of all motions and briefs

including exhibits must be sent to the chambers via First-Class Mail the same day the

document is e-filed, or hand-delivered not later than the next business day after the

document is e-filed. The courtesy copy should consist of the actual e-filed document

and contain the electronic file stamp on the top of each page. The courtesy copy must


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be bound on the left side in a book-style manner. The Court will not accept documents

loosely secured with a rubber band or binder clip. Exhibits must be labeled and may be

printed double sided. Relevant portions of exhibits must be highlighted.

      Along with the courtesy copy, the filing party must include copies of the main

cases and other authority that support its legal position(s). The filing party must

highlight the relevant portion(s) of these authorities. Counsel are encouraged, but not

required, to include these authorities in a separate binder with a table of contents.

      6.     NOTICE TO COURT OF RESOLUTION OF MOTION: If the

parties have resolved an issue that is the subject of a pending motion, the parties must

notify chambers in writing by the next business day. The parties may either e-mail the

Court’s Case Manager or send a fax to chambers indicating that the issue has been

resolved and that the parties no longer wish to move forward with the motion.

      7.     CASE EVALUATION/FACILITATION: Parties may stipulate to case

evaluation or mediation, or request a settlement conference with the Court at any time.

In all cases, a brief status conference will be conducted shortly after the close of

discovery to discuss settlement options.

      8.     MOTIONS IN LIMINE AND CHALLENGES TO EXPERTS:

Motions in limine are to be filed by the date set forth in this Scheduling Order.

Response briefs to motions in limine are due ten (10) days after the motion is filed and

reply briefs are due five (5) days after the filing of a response brief. Such motions are

not to recast issues previously presented in summary judgment or discovery motions.


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Rather, motions in limine serve the limited purpose of alerting the Court to significant

evidentiary issues that should be addressed prior to trial. The Court will generally

decide motions in limine at the Final Pretrial Conference, but will exercise its discretion

in deferring a decision until trial.

       Challenges to expert witnesses under FRE 702, 703, or 705 are due no later than

the summary judgment deadline.

       9.       JURY INSTRUCTIONS: The parties are to meet and confer prior to trial

to prepare final jury instructions. The parties should make a concerted, good faith effort

to narrow the areas of dispute and to discuss each instruction with a view to reaching

agreement on a single stipulated set of final instructions. The parties are advised to

consult Federal Jury Practice and Instructions (available on Westlaw in the FED-JI

database) or Modern Federal Jury Instructions (available on Lexis in the MOFEJI

database), and, to the extent that Michigan law governs, the Michigan Civil Jury

Instructions.

       Stipulated final jury instructions (as well as any instructions that are in dispute)

are to be submitted to the Court in the Joint Bench Book in the manner described below

at least one (1) week before the Final Pretrial Conference. At this same time, the

parties shall e-file a copy of their stipulated jury instructions on the court’s public

docket. In addition, counsel should send copies to the Court’s Case Manager via

electronic mail (Holly_Monda@mied.uscourts.gov) in Microsoft Word format.




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      10.    JOINT FINAL PRETRIAL CONFERENCE, JOINT FINAL

PRETRIAL ORDER, JOINT BENCH BOOK, AND EXHIBIT BINDERS:

Counsel should follow the guidelines below related to the Final Pretrial Conference,

Joint Final Pretrial Order, Joint Bench Book, and Exhibit Binders:

             a.    Trial counsel and all parties who are (i) natural persons; (ii) a
                   representative with full and final settlement authority on behalf of
                   each party that is not a natural person; (iii) a representative with full
                   and final settlement authority on behalf of each insurance carrier
                   that has undertaken the prosecution or defense of the case and/or
                   has contractually reserved to itself the right to settle the action;
                   and/or (iv) a representative authorized to act on behalf of each party
                   that is a governmental entity must be present at the Joint Final
                   Pretrial Conference and have settlement authority.

             b.    The parties are to strictly adhere to Local Rule 16.2 in preparing a
                   Joint Final Pretrial Order (“Joint Order”), except as this Court may
                   otherwise provide. Briefly, Local Rule 16.2 requires that the Joint
                   Order contain the following information: (1) jurisdiction, (2)
                   plaintiff’s claims, (3) defendant’s claims, (4) stipulation of facts,
                   (5) issues of fact to be litigated, (6) issues of law to be litigated, (7)
                   evidentiary problems likely to arise at trial, (8) a witness list, (9) an
                   exhibit list and any objections, (10) an itemization of damages, (11)
                   type of trial (e.g., jury) and its estimated length, and (12) details
                   regarding the most recent settlement effort. The parties are directed
                   to Local Rule 16.2 for further details. The Final Pretrial Order must
                   be submitted through the document utilities function of the
                   CM/ECF no later than two (2) weeks before the date of the Final
                   Pretrial Conference.

             c.    Counsel are also to submit a Joint Bench Book and a courtesy copy
                   of exhibit binders one (1) week prior to the Final Pretrial
                   Conference. The parties should work together to complete the
                   Joint Bench Book and it should include the following separately
                   identified sections:




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                  1.    Administrative Section

                        a.    Identify the parties, representatives, and attorneys,
                              including firm names;

                        b.    Estimate the length of trial in half-day blocks; and

                        c.    Give a brief description of any miscellaneous matters
                              of which the Court should be aware, e.g.,
                              accommodations for disabled witnesses.

                  2.   Theory of the Case

                        a.    Prepare a brief joint theory of the case to be used to
                              advise the jury of the nature of the action. The Court
                              will read this theory to the jury before voir dire.

                  3.    Voir Dire

                        a.    List of inquiries specific to the cause(s) of action that
                              each party would like the Court to make. As
                              described more fully below, the Court will often
                              permit parties to conduct limited voir dire following
                              the Court’s questioning of potential jurors.

                  4.    Witness List

                        a.    List witnesses reasonably expected to be called for
                              each party, specifically identifying experts, including
                              the anticipated length of direct and cross-examination
                              of each witness. Addition of witnesses after the Final
                              Pretrial Conference can only be done by stipulation or
                              by motion upon the showing of good cause.

                  5.    Final Jury Instructions

                        a.    A complete, single set of the proposed final jury
                              instructions and verdict form on which the parties
                              have reached agreement; and




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                        b.    Any proposed instructions on which there is a
                              disagreement. For each such instruction, the party
                              proposing the instruction should include the
                              instruction and the authority supporting the
                              instruction. The party opposing the instruction should
                              include (1) an alternate instruction and/or (2) a
                              concise statement explaining its objection to the
                              proposed instruction, and the authority upon which it
                              relies.

                  6.    Evidentiary/Legal Issues

                        a.    Submit a statement of anticipated legal/evidentiary
                              issues on which you believe the Court will need to
                              rule during the course of trial.

                  7.    Trial Briefs

                        a.    Each party should include a copy of its trial brief.

                  8.    Proposed Findings of Fact and Conclusions of Law

                        a.    In non-jury trials, each party should separately
                              include its proposed findings of fact and conclusions
                              of law.

            d.    In addition to the Joint Bench Book counsel are to prepare and
                  submit to the Court at the Final Pretrial Conference a copy of
                  separate exhibit binder(s) for each party. The exhibit binder(s)
                  shall include:

                  1.    A table of proposed exhibits, indicating which are stipulated
                        exhibits and which exhibits the parties are lodging
                        objections; and

                  2.    Each exhibit included under a separate, identified tab. If the
                        exhibits are voluminous (more than two large 4-inch
                        binders), they should be submitted on disc. However, one
                        physical copy must be present for the jury.




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       11.    VOIR DIRE AND CASE DESCRIPTION: It is the Court’s practice to

conduct initial voir dire. The Court will allow additional voir dire by counsel on a

limited basis and may permit such voir dire to be conducted by counsel. In such

instances, counsel must confine themselves to true voir dire and not engage in posturing

or argument. While the Court has standard voir dire questions, counsel may submit a

list of no more than fifteen (15) other inquiries specific to the cause(s) of action that

they want the Court to include. Counsel shall also prepare a brief two-to-three paragraph

joint statement of the case which will be read by the Court to the prospective panel of

jurors prior to the commencement of voir dire. This statement should simply describe

the nature of the claims and defenses in a general fashion and should not be

argumentative. The voir dire materials and case statement should be submitted in the

Joint Bench Book presented to the Court one week before the Final Pretrial Conference.

They    are   also   to   be    submitted    to   the   Case    Manager     via   e-mail

(Holly_Monda@mied.uscourts.gov) in Microsoft Word format.

       12.    EXHIBITS:

              a.     Counsel are required to mark all proposed exhibits in advance of
                     trial. The preferred method is to use the traditional “Plaintiff’s
                     Exhibit” and “Defendant’s Exhibit” in sequential order, but any
                     clearly marked method is acceptable (e.g., numbers and letters).
                     The parties are required to exchange marked exhibits three (3) days
                     prior to the start of trial.

              b.     Counsel are required to keep track of all admitted exhibits during
                     trial. Counsel must confer and maintain one set of admitted exhibits
                     which should be ready to be turned over to the jury prior to the
                     closing jury instructions.


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                 c.       On the first day of trial, the parties are to provide the Court with a
                          set of the marked exhibits. They are to be placed in a three-ring
                          binder with the exhibit number displayed prominently on the tab
                          corresponding to the exhibit. The binder should include an index
                          which adheres to the following format:

                           Exhibit #               Description                Received

                          An “S” is to be placed in the column labeled “Received” for
                          all stipulated exhibits.

                 d.       The provisions of Federal Rule of Civil Procedure 37(c)(1) will
                          apply for failure to list an exhibit.

        13.      CIVILITY: The Court expects compliance with this District’s Civility

 Principles. Conduct inconsistent with the letter, and spirit, of those principles will not

 be tolerated.        Counsel will treat all litigation participants, and each other, with

 professionalism, courtesy, and respect at all times. This includes what is written as well

 as what is said.

        IT IS SO ORDERED.

                                              s/Matthew F. Leitman
                                              MATTHEW F. LEITMAN
                                              UNITED STATES DISTRICT JUDGE

 Dated: April 3, 2020


 I hereby certify that a copy of the foregoing document was served upon the parties
 and/or counsel of record on April 3, 2020, by electronic means and/or ordinary mail.

                                                      s/Holly A. Monda
                                                      Case Manager
                                                      (810) 341-9764




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